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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X
TERON EDWARDS, BY HIS GUARDIAN
AD LITEM, NIKIA EDWARDS,                                   1:15-cv-3637-SHS

                                           Plaintiff,

-against-

THE CITY OF NEW YORK, ET AL.,

                                         Defendants.
-------------------------------------------------------X

     MOTION TO EXEMPT CASE FROM PARTICIPATION IN THE SOUTHERN
   DISTRICT’S PLAN FOR CERTAIN § 1983 CASES AGAINST THE CITY OF NEW
                                 YORK

                 PLEASE TAKE NOTICE that defendants The City of New York, The New

York City Police Department, P.O. Mohammed Islam, Sgt. Roventi Dani, Det. Edwin Santiago,

The New York City Department of Mental Health and Hygiene, and the New York City

Department of Correction will move this Court before the Honorable Sidney H. Stein, United

States District Judge, at the United States Courthouse for the Southern District of New York,

located at 500 Pearl Street, New York, New York, pursuant to Local Civil Rule 83.10(4)(a) to

exempt this case from participation in the Southern District’s Plan for Certain § 1983 Cases

Against the City of New York (“1983 Plan”), and for such other and further relief as the Court

may find just and proper.


                  THIS CASE SHOULD BE EXEMPTED FROM THE 1983 PLAN


                 Defendants The City of New York, The New York City Police Department, P.O.

Mohammed Islam, Sgt. Roventi Dani, Det. Edwin Santiago, The New York City Department of

Mental Health and Hygiene and the New York City Department of Correction respectfully move
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pursuant to Local Civil Rule 83.10(4)(a) to exempt this case the 1983 Plan. Austa Devlin of

Heidell, Pittoni, Murphy & Bach, LLP, counsel for co-defendant, New York City Health &

Hospitals Corp. consents to this motion, and plaintiff’s counsel, Andea Borden, of Burns &

Harris, counsel for plaintiff unfortunately has not gotten back to me to advise whether or not she

consents to this motion.

               This case was removed to this Court from the Supreme Court, Bronx County on

May 11, 2015, and on the same day the case was assigned to participate in the 1983 Plan. There

are several reasons why this case does not belong in the 1983 Plan. The 1983 Plan was intended

for simple and straightforward cases against the City and/or the City’s police officers alleging §

1983 claims for excessive force, false arrest or malicious prosecution. This case is not such a

case. This case involves claims against entities other than the NYPD. In addition to the claims

against the City, the NYPD and certain police officers, plaintiff is alleging claims against the

City’s Department of Correction, the City’ Department of Mental Health and Hygiene, the New

York City Health and Hospitals Corp., specifically Bellevue Hospital, and their respective

employees.

               Further, the 1983 Plan was intended for simple and straightforward cases where

factual, discovery and evidentiary issues are not complex. The 1983 Plan’s first paragraph

reflects this fact, indicating that provisions of the 1983 Plan are inapplicable to class action

cases, actions brought by six or more persons or complaints requesting systemic equitable

reform, all of which are complex matters involving several parties, claims, potential witnesses

and related discovery issues. See Local Civil Rule 83.10. This is not a simple, straightforward

case. The 105 page complaint in this action consists of 491 separate paragraphs and thirty two

distinct causes of action.   The actual claims range from false arrest, excessive force and



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malicious prosecution and related claims against NYPD officers, excessive force and deliberate

indifference to medical care claims against DOC officers, and negligence and medical

malpractice claims against Bellevue Hospital and its employees, as well as myriad related claims

such as conspiracy, failure to intervene and various Monell claims.

               Finally, the procedural posture of this case is also not simple and straight forward.

The criminal prosecutions underlying plaintiff’s arrest, prosecution and incarceration that form

the basis for the claims in this action are still pending, and, as such, City defendants will be

moving to stay the claims in this case, or at least the claims relating to the arrest and prosecution

until the underlying criminal case has been resolved. Based on a review of the New York State

Office of Court Administration Website (WebCrims), the criminal case against plaintiff relating

to January 26, 2014 arrest that underlays this action is pending in the Supreme Court, Kings

County under Indictment Number 773-2014. That criminal case is scheduled for a further

conference before Judge Williams in Part 50, in the Supreme Court, Kings County on July 16,

2015.   Second, the City defendants also intend to move, pursuant to Rules 8 and 12(c) for an

order dismissing many of the claims, and some of the parties, in this prolix and repetitive

complaint in an effort to narrow the claims, the parties and the scope of discovery in this action.




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                Accordingly, City defendants respectfully request that this case be exempted from

the 1983 Plan, together with such other and further relief that the Court deems appropriate and

necessary.

Dated:          New York, New York
                June 5, 2015
                                             Respectfully submitted

                                             ZACHARY W. CARTER
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                                             City of New York
                                             Attorney for Defendants
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                                             DET. EDWIN SANTIAGO, THE NEW YORK
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                                             By:________________________
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